             Case 2:20-mc-00075-RSL Document 8 Filed 09/25/20 Page 1 of 2



 1                                                            The Honorable Robert S. Lasnik
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 7                             UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF WASHINGTON
 8
                                        AT SEATTLE
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     UNITED STATES OF AMERICA,                               NO. 2:20-MC-0075 RSL
11
                               Plaintiff,                           (2:07-CR-0365-1)
12
             vs.                                             Order Terminating
13                                                           Garnishment Proceeding
     ABDULKADIR SHEIKH ABU,
14
              Defendant/Judgment Debtor,
15
           and
16
     THE ESSENTIAL BAKING COMPANY
17   INC,

18                             Garnishee.

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            This matter came before the Court on the United States’ Application to
20
21   Terminate Garnishment Proceeding. For the reasons stated in the United

22   States’ Application, the Court concludes that this Garnishment should be

23   terminated, pursuant to 28 U.S.C. § 3205(c)(10)(A).
24
            IT IS ORDERED that the garnishment is terminated and that The
25
     Essential Baking Company Inc., is relieved of further responsibility pursuant
26
27   to this garnishment.

28   //


     ORDER TERMINATING GARNISHMENT PROCEEDING                                      UNITED STATES ATTORNEY’S OFFICE
                                                                                    700 STEWART STREET, SUITE 5220
     (USA v. Abdulkadir Sheikh Abu and The Essential Baking Company Inc., USDC#:           SEATTLE, WA 98101
     2:20-MC-0075-RSL/2:07-CR-0365-1)1                                                     PHONE: 206-553-7970
             Case 2:20-mc-00075-RSL Document 8 Filed 09/25/20 Page 2 of 2



 1          Dated this 25th day of September, 2020.
 2
 3
                                      JUDGE ROBERT S. LASNIK
 4                                    UNITED STATES DISTRICT COURT JUDGE

 5
 6   Presented by:

 7   s/ Kyle A. Forsyth
     KYLE A. FORSYTH, WSBA # 34609
 8   Assistant United States Attorney
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     ORDER TERMINATING GARNISHMENT PROCEEDING                                      UNITED STATES ATTORNEY’S OFFICE
                                                                                    700 STEWART STREET, SUITE 5220
     (USA v. Abdulkadir Sheikh Abu and The Essential Baking Company Inc., USDC#:           SEATTLE, WA 98101
     2:20-MC-0075-RSL/2:07-CR-0365-1)2                                                     PHONE: 206-553-7970
